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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 22-80173-CR-CANNON

  UNITED STATES OF AMERICA,

        Plaintiff,

  vs.

  WILLIAM SPEARMAN,

        Defendant.
                                          /

                               NOTICE OF APPEAL
        Notice is hereby given that William Spearman, defendant in the above named

  case, hereby appeals to the United States Court of Appeals for the Eleventh Circuit

  from the final judgment and sentence entered in this action on the 29th day of

  January, 2024.


                                        Respectfully submitted,

                                        MICHAEL CARUSO
                                        FEDERAL PUBLIC DEFENDER

                                        s/ Scott Berry
                                        Scott Berry
                                        Assistant Federal Public Defender
                                        Attorney for the Defendant
                                        Florida Bar No. 0525561
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                                        Scott_Berry@FD.org




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                             CERTIFICATE OF SERVICE

        I HEREBY certify that on January 29, 2024, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record or pro se parties identified

  on the attached Service List in the manner specified, either via transmission of

  Notices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those counsel or parties who are not authorized to receive electronically

  Notices of Electronic Filing.

                                          By: s/Scott Berry
                                              Scott Berry




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